      Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 1 of 23 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILINOIS
                                   Eastern Division

SIGNAL FINANCIAL HOLDINGS LLC and                                     )
SIGNAL FUNDING LLC                                                    )
both Delaware limited liability companies,                            )
                                                                      )
                                       Plaintiffs,                    )
                                                                      )
                       v.                                             ) Case No. _______
                                                                      )
LOOKING GLASS FINANCIAL LLC,                                          )
a Delaware limited liability company, and                             ) JURY DEMANDED
FARVA JAFRI, an individual,                                           )
                                                                      )
                                       Defendants.                    )

               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       SIGNAL FINANCIAL HOLDINGS LLC (“SFH”) and SIGNAL FUNDING (‘Signal”)

(together “Plaintiffs”) complain of Defendants LOOKING GLASS FINANCIAL LLC (“Looking

Glass”) and FARVA JAFRI an individual, as follows:

                                        INTRODUCTION

       1.      Plaintiffs bring this action under the Defend Trade Secrets Act of 2016 (“DTSA”),

18 U.S.C. 1830, et seq., the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. 1030, et seq.,

and the Illinois Trade Secrets Act, 765 ILCS 1065/1, et seq., on account of Defendants’ theft and

misuse of Plaintiffs’ trade secrets and the theft and misuse of confidential computer files

containing those secrets by Defendant Jafri in excess of her authority as part of her resignation and

departure from the employ of Plaintiff Signal and her misuse of those trade secrets in her own

recently established business–Looking Glass–that directly competes with Plaintiffs.

       2.      The trade secrets that are the subject of this action are extremely sensitive financial,

marketing, and investment data of Plaintiffs used in the course of Signal’s business of pre-




                                                     1
      Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 2 of 23 PageID #:2




settlement litigation funding, a business Plaintiffs operate throughout the United States in interstate

commerce, both to structure their business, develop and implement business plans, and make

presentations to investors and potential investors, among other business purposes.

        3.     Additional confidential trade secret information was stolen relating to opportunities

and ongoing SFH transactions in the business of medical receivable funding. SFH operates several

businesses in this market segment throughout the United States in interstate commerce. These

trade secrets included highly sensitive financial data, client information, and information regarding

key people involved in potential joint ventures, all of which was shared with SFH under non-

disclosure agreements and was maintained in a secure fashion.

        4.     Defendant Jafri was formerly an officer and employee of Signal who in the course

of, or soon after, resigning from Signal on September 28, 2017, improperly accessed computers

and network drives maintained by SFH, Signal, and their parent company 777 Partners LLC, and

transferred to her personal email account the trade secrets described below. As part of that illicit

conduct, Defendant Jafri organized defendant Looking Glass to directly compete with Plaintiffs in

the litigation funding business, and utilized the trade secrets she stole in business presentations

designed to further Looking Glass’ entry into that business and for other purposes unknown to

Plaintiffs.

                                 JURISDICTION AND VENUE

        5.     Plaintiffs bring this action under federal question jurisdiction of this Court pursuant

to 18 U.S.C. 1331, under the specific grant of jurisdiction of the DTSA in 18 U.S.C. 1836(c), and

under 28 U.S.C. 1367(a) providing for supplemental jurisdiction over state law claims.




                                                  2
      Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 3 of 23 PageID #:3




       6.      Venue is proper in this District under 18 U.S.C. 1391(b)(1) & (2) because

Defendant Looking Glass operates within in this District where a substantial part of the events and

omissions giving rise to these claims occurred.

                                          THE PARTIES

Plaintiffs.

       7.      Plaintiff Signal Financial Holdings, a Delaware limited liability company, is

engaged in interstate commerce in the businesses as the owner and operator of multiple businesses

in pre-settlement funding and medical receivables. Signal Financial Holdings’ principal place of

business is at 1855 Griffin Road, Suite B354 Dania Beach 33004.

       8.      Plaintiff Signal, also a Delaware limited liability company, is engaged in interstate

commerce in the business of pre-settlement legal funding (sometimes called lawsuit funding or

litigation funding). Signal’s principal place of business is at 1855 Griffin Road, Suite B354 Dania

Beach, FL 33004.

Defendants.

       9.      Defendant Looking Glass is also a Delaware limited liability company, organized

in Delaware on or about October 12, 2017 by Defendant Jafri. Looking Glass is registered in

Illinois as a foreign entity and its Illinois Registered Agent is Jonathan P. Friedland, 30 N. LaSalle

St., Ste 3000, Chicago, IL 60602, a partner in the law firm of Sugar Felsenthal Grais & Hammer

LLP, which, on that date was retained as legal counsel by Signal and whose attorneys, including

Mr. Friedland, were performing extensive legal work on its behalf, including preparing Plaintiffs’

“Information security policy, [and] written information security program.”

       10.     The Application to Register in Illinois as a foreign LLC, apparently signed by

Defendant Jafri, lists her as the Manager of Looking Glass and states that its principal office is




                                                  3
      Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 4 of 23 PageID #:4




located at 50 Evergreen Row, Armonk, NY 10504, which, on information and belief from

Westchester County, NY land records, Plaintiffs allege is the home of Defendant Jafri’s parents or

other relatives.

        11.        Defendant Favra Jafri is an individual who was employed by Plaintiffs as Chief

Operating Officer (COO). She holds a J.D. and M.B.A. from the University of Illinois at Urbana-

Champaign, a Masters of Public Health from the Keck School of Medicine at the University of

Southern California and a B.A. from New York University. Her last known address is 3451 NE

1st Ave, Apt M602, Miami, FL 33137.

        12.        Prior to and during her employment by Plaintiffs, she repeatedly represented orally

and in writing that she was an attorney admitted to the practice of law in some jurisdiction. She

repeatedly signed emails and other communications stating that she was Plaintiffs’ “General

Counsel.”

        13.        Plaintiffs’ investigation has revealed, however, that this is likely not true and,

therefore on information and belief, i.e. information obtained from the lawyer admissions office

of the State of Alaska, Plaintiffs allege that in fact she is not licensed as an attorney at law in any

U.S. state or jurisdiction, although Plaintiffs have confirmed that she was awarded an J.D. by the

College of Law of the University of Illinois on May 16, 2015.

                                     FACTUAL BACKGROUND

        14.        Plaintiff Signal is engaged in the business of pre-settlement legal funding

(sometimes called lawsuit funding or litigation funding). It provides funding to victims of

accidents and other legal harms who have been denied payments or settlements by the responsible

parties or insurers, and who have therefore filed lawsuits to redress their rights and recover

damages but who, due to injury, sickness or other disabilities do not have the means to support




                                                    4
         Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 5 of 23 PageID #:5




themselves or pay for the medical and other professional services that they require until the

lawsuits are resolved. In essence, Plaintiff Signal purchases the rights to a portion of any recovery

such a victim might in the future receive and makes non-refundable, non-recourse payments to

those victims.

          15.    In July of 2016, Defendant Jafri was hired by Signal as its Vice President of

Operations. Jafri soon after assumed the title of Chief Operating Officer (“COO”), and undertook

those duties subject to the supervision of officers of Signal.

          16.    In the performance of her duties, Defendant Jafri worked primarily from Illinois,

where, until recently, Signal’s main offices were located before they were moved to Florida. A

few months before her resignation she also moved to Miami and worked from Plaintiffs’ offices

there.

          17.    During her tenure at Signal, Defendant Jafri was provided with access to a wide

variety of Signal’s confidential and proprietary trade secrets, including but not limited to investor

profiles, funding models, projected settlements, underwriting standards and procedures,

contracting and lien purchase documents, executive summaries, and descriptions of the companies’

methods of operation, lists of purchased receivables, logs of original claims, portfolios of payouts,

employee agreements, and lists of contact information for employees and specialized vendors with

which Plaintiffs utilized or transacted business.

          18.    In August 2016, Defendant Jafri drafted or participated in the drafting of, and

Plaintiffs promulgated and published, a comprehensive Employee Handbook that, among the usual

provisions, contained stringent confidentiality provisions applicable to all employees, including

Jafri, including the following provision in a Section entitled “Confidentiality:”

          Confidentiality

          Throughout your employment with Signal, you will have access to confidential


                                                    5
      Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 6 of 23 PageID #:6




       information. Confidential information includes information acquired in the course
       of one’s work and not otherwise available to persons or companies outside the
       organization, which may include, but is not limited to: client information,
       equipment,       documents,      inventions,     innovations,     facilities,   plans,
       sales/marketing/financial data, forms, and all other proprietary information that
       belong to Signal, our clients, and/or any partners. All such confidential information
       remains the sole property of Signal, our clients, and/or partners and should not be
       shared with other parties. If you have any question as to whether you should share
       information with someone, ask your manager. A failure to maintain confidentiality
       can result in disciplinary action, up to and including termination of employment.

       19.     That Confidentiality section also contains strict restrictions about the return and

non-use of confidential information after an employee’s employment terminated, as follows:

       Should your employment with Signal terminate for any reason, employees shall
       promptly surrender, without retaining copies (paper or electronic), all tangible
       things (including electronic files and information) that are or contain confidential
       information as described above. Failure to meet these obligations may result in legal
       action.

       20.     Beginning in summer of 2017, Jafri was also awarded the opportunity to complete

assignments as an investment associate of Signal’s ultimate parent company 777 Partners LLC,

where she was granted access to large amounts of confidential information and trade secrets

regarding the broader corporate strategy of organizing a new entity, eventually organized in June

2017 as Signal Financial Holdings LLC, a Delaware limited liability company, for the purpose of

acquiring and operating businesses in other market segments. This information included, but was

not limited to, financial models, portfolio performance data, client information, lists of potential

acquisitions or joint venture partners, privileged and confidential drafts of legal documents for

debt facilities, and strategic plans for corporate growth.

       21.     Defendant Jafri performed her duties from July 2016 to late May 2017, when she

began to systematically subvert the executives in charge of Signal and then SFH, act in

contradiction to specific instructions, and exercise authority over corporate decisions that she hid

from superiors. As those actions came to light in the late summer of 2017, her behavior became



                                                  6
      Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 7 of 23 PageID #:7




erratic and bizarre. She stopped communicating to supervisors, intentionally misrepresented her

whereabouts and what work she was undertaking, had intermittent absences that interfered with

Plaintiffs’ operations, and refused without explanation to attend at least one meeting that was

called to review and correct her performance, which was critical to the successful continuation of

Plaintiffs’ business.

       22.     On September 28th, 2017, while Plaintiffs were preparing to terminate Defendant

Jafri’s employment, she abruptly submitted her resignation effective immediately leaving Plaintiff

Signal without a COO.

       23.     To accommodate both their interests and Jafri’s departure, Plaintiffs proposed that

they enter into a “Transition Agreement,” whereby Defendant Jafri would continue in a limited

role, while Plaintiffs attempted to find a replacement and while her responsibilities and functions

were reassigned to other of Plaintiffs’ employees.

       24.     On October 4th, 2017, Plaintiffs’ sent Defendant Jafri the proposed Transition

Agreement and asked for her input. Instead of responding, however, Jafri ceased communications

with Plaintiffs’ personnel and failed to respond to their urgent inquiries about the status of her

actions. However, Jafri continued to exercise limited control she still had over certain bank

accounts and information technology assets, without authorization from SFH or Signal.

       25.     On the morning of October 7, 2017, a human resources director serving Plaintiffs

sent an electronic mail communication to Defendant Jafri stating that because a number of

questions had arisen regarding her conduct both pre- and post-resignation, the Transition

Agreement was being rescinded. Jafri was asked to come to an in-person meeting in Miami on

Wednesday October 11, 2017 to resolve these questions and discuss the possibility of reinstating

some from of the Transition Agreement offer if a cooperative arrangement was agreed upon.




                                                7
        Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 8 of 23 PageID #:8




         26.   In the afternoon of October 7, 2017, unbeknownst to Plaintiffs, Defendant Jafri

accessed at Signal corporate email account and forwarded numerous documents containing

confidential and proprietary trade secret information to her personal email account:

farvastra@gmail.com.

         27.   After transmitting these documents to her personal email account, Jafri finally

responded to a LinkedIn Inmail message sent by a human resource director serving Plaintiffs,

stating that Jafri no longer had any time available to be of assistance to SFH or Signal in her

transition away from the company and that she was consumed with work on a prior “start-up”

company she had founded in Chicago.

         28.   Five weeks later, Plaintiffs discovered that Jafri had formed a competing entity also

to be involved in the business of litigation funding.

         29.   In fact, on October 12th, 2017, there was filed in the Office of the Secretary of State

of Delaware a Certificate of Formation of an entity known as Looking Glass Funding LLC. That

Certificated was signed by one ‘Stuart Rathje,” which, on information and belief from the website

of the law firm Sugar Felsenthal Grais & Hammer LLP, Plaintiffs allege was a paralegal at that

firm.

         30.   Thereafter, on October 19, 2017, there was filed in the Office of the Secretary of

State of Illinois, registration on behalf said Looking Glass Funding LLC, to obtain authorization

as a foreign entity to transact business in Illinois. That filing disclosed that the Manager of Looking

Glass Financial LLC was Defendant Jafri, and stated that the registered agent was one Jonathan P.

Friedland, 30 N. LaSalle St., Ste 3000, Chicago, IL 60602, a partner in the law firm of Sugar

Felsenthal Grais & Hammer LLP, which, on that date was retained by and acting as legal counsel




                                                  8
       Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 9 of 23 PageID #:9




for Signal, and whose attorneys, including Mr. Friedland, were performing extensive legal work

on Signal’s behalf.

         31.      That filing also stated that Looking Glass’ principal office is located at 50

Evergreen Row, Armonk, NY 10504. On information and belief from Westchester County, NY

land records, Plaintiffs allege that this is the home of Defendant Jafri’s parents or other relatives

because those records show that the owners of record are Agha and Masoomeh Jafri.

         32.      Upon the discovery of these actions by Jafri or some of them, Plaintiffs began an

investigation of the circumstances of Defendant Jafri’s departure, including her use of the company

email, and discovered that on October 7, 2017, she had entered the company computer servers,

copied numerous files containing Plaintiffs’ most sensitive financial and other information, and

emailed those files to her personal email farvastra@gmail.com.

         33.      Defendant Jafri committed those improper acts without any authorization and in

excess of her authorization as an officer of Plaintiffs, and in violation of Signal policies, as detailed

in the operative August 2016 employee handbook.

         34.      The files Defendant Jafri emailed to herself included are as follows (in general

description): investor profiles, funding models, projected settlements, underwriting standards and

procedures, contracting and lien purchase documents, executive summaries, and descriptions of

the companies’ methods of operation, lists of purchased receivables, logs of original claims,

portfolios of payouts, employee agreements, and lists of contact information for employees and

specialized vendors with which Plaintiffs utilized or transacted business.1




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  To preserve the confidentiality of these materials, Plaintiffs describe them only generally in this Complaint with
the expectation of filing them under seal at the appropriate time pursuant to this Court’s Local Rules and procedures.



                                                          9
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 10 of 23 PageID #:10




       35.     Much of this information was proprietary to Plaintiffs, and a great deal was

sophisticated and complicated compilations and summaries of market data prepared by Plaintiffs’

experienced and skilled financial staff and analysts, and therefore not known outside of Signal.

       36.     Signal undertook extensive efforts to safeguard the secrecy of those files and the

information contained therein. Access to the files Jafri took was limited to certain employees on a

need to know basis, stored on a network drive controlled by Signal’s ownership group and known

as the “Executive Drive,” to which access was severely limited to the ownership group’s

investment and legal teams, the supervising executives overseeing Signal as a portfolio company,

and a select small group of Signal operating executives, all of whom were subject to Signal’s

Confidentiality restrictions in the Employee Manual quoted in part above.

       37.     The files and information contained therein were extremely valuable to Signal and

to its competitors because it demonstrated both how Signal conducted its business, and provided a

detailed roadmap for its competitors to do the same without the necessary complex and expensive

ramp-up to develop such a sophisticated level of financial analysis.

       38.     Plaintiffs invested enormous time, effort and expense to produce these files and the

information contained therein, an effort that took months and consumed the full-time efforts of

highly skilled and experienced investment professionals for weeks at a time. The value of this

work and these information and files exceeds several tens of thousands of dollars.

       39.     This information is so sophisticated that it would be extremely difficult for others

to acquire or develop in its highly accurate form.

       40.     Two of the computer files that Defendant Jafri stole were Microsoft PowerPoint

“slide decks” that contained the most confidential financial, marketing, and investor information.

Both slide decks were marked “Confidential,” but in any event, Defendant Jafri was well aware




                                                10
     Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 11 of 23 PageID #:11




from her education, experience, and role at Plaintiffs that the slide decks and the other files she

stole contained the most sensitive and confidential information and constituted Plaintiffs’ trade

secrets.

           41.    The slide decks contained extensive amounts of Plaintiffs’ trade secret information,

including, in particular, proprietary information regarding disability receivables, a potential market

for Plaintiffs, and industry specific financial models created by Plaintiffs.

           42.    The slide decks were prepared by one of Plaintiffs’ investment principals, working

full-time over 2-3 weeks. That professional holds an MBA from Duke University and has over a

decade of Wall Street investment experience. His work involved complicated calculations and

modeling that were then embedded in the slides.

           43.    Another of the files Jafri emailed to herself was an EXCEL spreadsheet that was a

financial model of projected operations prepared for the use in making a presentation to a large

international investment firm that was investigating investing in or joint venturing with Plaintiffs.

           44.    The preparation of that model file was a difficult and time-consuming task

performed in-house by two or three investment professionals based on highly proprietary and

secret calculations and formulas. The preparation of that model took nearly a month of full time

work to build.

           45.    Plaintiffs’ slide deck and model spreadsheet were shared only with a very select

and sophisticated persons and entities as part of Plaintiffs’ investment marketing efforts. Those

entities and persons were deeply experienced in investment matters, and always agreed to execute

and abide by strict Nondisclosure Agreements (NDA), that provided in part as follows:

           Use and Disclosure of Confidential Information. The Receiving Party hereby
           agrees (a) to use the Confidential Information only for the purposes of evaluating,
           negotiating, consummating or administering the Transaction and (b) not to disclose
           Confidential Information to any person other than (i) those of its Representatives



                                                   11
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 12 of 23 PageID #:12




       who the Receiving Party reasonably deems need to know such Confidential
       Information to assist in its evaluation, negotiation, consummation or administration
       of the Transaction, provided that the Receiving Party shall inform such
       Representatives of the confidential nature of the Confidential Information and
       instruct them to treat the Confidential Information confidentially, (ii) as consented
       to by the Disclosing Party in writing (including in the form of an email), (iii)
       pursuant to Law and in accordance with the terms set forth in Section 3 of this
       Agreement, or (iv) as otherwise provided herein. The Receiving Party shall be
       responsible for any breach of the confidentiality or non-use provisions herein by
       any of its Representatives. The Receiving Party agrees to protect, and direct its
       Representatives to protect, the Confidential Information using the same degree of
       care it uses to protect its own most valuable confidential information, but in no
       event using less care than a reasonable person would use to protect its most valuable
       proprietary and confidential information.

       46.     Additional files that Jafri emailed to herself were “Underwriting Guidelines”

prepared for various potential deals. These Guidelines are a roadmap of the criteria and process

by which Plaintiffs evaluate the acceptance of various financing transactions, and are confidential

to the highest degree because they disclose Plaintiffs’ confidential business methods in considering

and accepting transactions that are at the heart of their business–pre-judgment settlement funding.

       47.     Subsequently, on November 13th, 2017, Plaintiffs were provided with copies of a

slide deck utilized in some sort of presentation by Defendant Jafri or someone else unknown to

Plaintiffs on behalf of Defendant Looking Glass. That slide deck was obviously an altered version

of one of the slide decks to which Defendant Jafri had access to during her employment at

Plaintiffs. This is demonstrated by the identical slide deck pages with Signal’s name blacked out

and Looking Glass’s name inserted. In fact, on one of the pages, the name of Signal was not

obliterated.

       48.     The remaining files that Jafri stole were “deal documents,” that is information and

files exchanged between Plaintiffs and related entities of three other companies that Plaintiffs were

investigating to acquire, primarily financial, administrative, and underwriting information. Two of

those transactions have closed and the companies involved are now part of the Signal family of



                                                 12
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 13 of 23 PageID #:13




entities. The third transaction is still pending, and so Defendants have in their possession

extremely sensitive and confidential financial, underwriting and other information about a

transaction that Plaintiffs are still attempting to complete. The harm from their theft and possession

of this material is incalculable.

        49.     During the period that Defendant Jafri was committing these acts, three

individuals–Michael Olsen, Michael Walker, and Pamela Kalfen–were officers and employees of

Plaintiff. Olsen was Plaintiffs’ Chief Marketing Officer (CMO); Walker was its Chief Technology

Officer (CTO), and Kalfen was its Chief Underwriter.

        50.     All three appear in the Looking Glass slide deck presentation, with detailed

description of their backgrounds, experience, and expected roles. Olsen is listed as Looking Glass’

“prospective CMO/President;” Walker is listed as its “prospective CTO/COO;” Kalfen is listed as

its “prospective Chief Underwriter.”

        51.     Without process of Court, Plaintiffs do not know and cannot discover whether the

three were knowing participants in Defendant Jafri’s improper actions. Nevertheless, the inclusion

of the three in this marketing deck establishes Defendants’ intention to create a venture competitive

with Plaintiff Signal using not only its trade secret information, but also its management staff.

        52.     Based on these discoveries, Signal has terminated the employment of all three.

        53.     This misuse of Plaintiffs’ trade secrets by Defendant Jafri on behalf of Defendant

Looking Glass was entirely unauthorized and improper, and constitutes a theft and

misappropriation of Plaintiffs’ trade secrets.

        54.     Plaintiffs were and are the owners of all of this information, documents and files

stolen by Defendant Jafri and used to promote her competitive entity, Defendant Looking Glass.




                                                 13
     Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 14 of 23 PageID #:14




           55.   Any and all of the information, documents and files stolen by Defendant Jafri and

then used to promote her competitive entity, were Plaintiffs’ confidential and sensitive trade

secrets.

           56.   Plaintiffs took extensive and reasonable steps to ensure that those materials

remained confidential, including the following: labeling on the materials of its confidential nature,

limited exposure to non-employee personnel, and access limited to specific, company personnel

in a protected online “hard drive.”

           57.   Defendants’ theft of this information, documents and files has caused Plaintiffs

damage in excess of $5,000, in that they are required to seek legal assistance to protect their trade

secrets, forced to conduct a complicated and expensive forensic computer analysis and

investigation, and are now suffering competitive damage in that Looking Glass is attempting to

steal business from them by using their own trade secret information.

           58.   Plaintiffs cannot quantify the precise monetary losses that might continue to be

suffered due to the loss of goodwill, the loss of sales and the unfair economic advantages that

Looking Glass Jafri has gained or is likely to gain.

           59.   The loss of business that Jafri threatens to cause and the profits lost with such

business are unquantifiable and the mere difficulty of pinning down what business has been or will

be lost makes Plaintiffs’ injury irreparable.

           60.   Furthermore, Looking Glass’ emergence as a competitor is sufficient to establish

irreparable harm by reason of the threat of the continuation of such losses to Plaintiffs’ legitimate

business interests are sufficient to show irreparable harm. Looking Glass and Jafri are now current

and ongoing competitors, creating ongoing competition with Signal, making it difficult to identify

or predict which customers Signal has or will lose.




                                                 14
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 15 of 23 PageID #:15




       61.     Finally, Plaintiffs’ potential loss of a competitive position is an intangible but real

damage not readily measurable, and is a harm that cannot be adequately remedied in law.

       62.     By this proceeding, Plaintiffs seek the protection of the Court to stop the ongoing

illegal conduct and compensate them for their losses.

                                            COUNT ONE

    VIOLATION OF THE DEFENSE OF TRADE SECRETS ACT – 18 U.S.C. 1830, et seq.

       63.     Plaintiffs re-allege and incorporate herein all of the allegations set forth in

paragraphs 1 through 62 above and the allegations of the other Count(s) herein.

       64.     By means of the acts, practices, omissions and conduct alleged above, Defendants

and each of them have committed violations of 18 U.S.C. 1832 of the DTSA, in that they

       (a) with intent to convert a trade secret, that is related to a product or service used in or
       intended for use in interstate or foreign commerce, to the economic benefit of anyone
       other than the owner thereof, and intending or knowing that the offense will, injure any
       owner of that trade secret, knowingly—

       (1) stole, or without authorization appropriated, took, carried away, or concealed, or by
       fraud, artifice, or deception obtained such information;

       (2) without authorization copied, duplicated, sketched, drew, downloaded, uploaded,
       altered, photocopied, replicated, transmitted, delivered, sent, mailed, communicated,
       and conveyed such information;

       (3) received, possesses such information, knowing the same to have been stolen or
       appropriated, obtained, or converted without authorization;

       (4) attempted to commit those acts described in paragraphs (1) through (3); and

       (5) conspires with one or more other persons to commit such acts and did commit an
       act to effect the object of that conspiracy.

       65.     Section 18 U.S.C. 1836(b)(1) & (3)(A) provides Plaintiffs with an appropriate civil

remedy against Defendants for their wrongdoing, including the grant of injunctive relief both

prohibiting continued misuse of the trade secrets and requiring protective measures.




                                                    15
     Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 16 of 23 PageID #:16




        66.     Section 18 U.S.C. 1836(3)(B) provides for the damages for actual loss caused by the

misappropriation of the trade secret; and damages for any unjust enrichment caused by the

misappropriation of the trade secret that is not addressed in computing damages for actual loss; or in

lieu of damages measured by any other methods, the damages caused by the misappropriation

measured by imposition of liability for a reasonable royalty for the misappropriator’s unauthorized

disclosure or use of the trade secret.

        67.     Section 18 U.S.C. 1836(c) grants this Court jurisdiction over such claim.

        WHEREFORE, Plaintiffs respectfully request the Court to enter the following relief in its

favor and against Defendants:


        A.      That a temporary restraining order, and thereafter, a preliminary and permanent
                injunction be entered restraining and enjoining Defendants from using or
                disclosing any information that they improperly obtained;
        B.      That a temporary restraining order, and thereafter, a preliminary and permanent
                injunction be entered restraining and enjoining Defendants or any other person
                acting with or for them from contacting any clients or other persons and
                transmitting any of the information Jafri accessed, transferred or downloaded
                in violation of the DTSA;
        C.      That a temporary restraining order, and thereafter, a preliminary and permanent
                injunction be entered enjoining and restraining Defendants from misappropriating
                and using the confidential and/or proprietary information alleged herein;
        D.      That a mandatory injunction order be issued requiring the Defendants to return to
                Plaintiffs any and all written materials, including copies thereof, and/or
                computer disks, diskettes, databases and/or other retrievable data (whether
                encoded, taped, code electronically, electromagnetically, or otherwise) which
                reflect, refer or relate to the confidential and/or proprietary information, and any
                copies thereof that may be in their possession, or to which they may have access;
        E.      That a mandatory injunction order be issued requiring the Defendants to permit
                Plaintiffs to collect a forensic image of the Defendants computers, emails accounts,
                social media accounts, laptop computers, cloud-based storage areas, portable or
                handheld devices including portable phones and iPhones, and any other electronic
                storage media they use that contains or may contain electronic information
                relating to the confidential and/or proprietary information of Plaintiffs;
        F.      That following the imaging described above, that the Defendants be ordered to
                permanently delete all Plaintiffs’ confidential and/or proprietary information from


                                                    16
     Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 17 of 23 PageID #:17




                computers, computer hard drives, USB drives, CDs/DVDs, or any other type of
                digital storage device described herein; and
        G.      That the Court grant additional relief to Plaintiffs, including (i) an accounting
                of monies obtained through the Defendants wrongful acts, (ii) disgorgement of the
                monies obtained through their wrongful acts, (iii) lost profits incurred by
                Plaintiffs as a result of Defendants wrongful acts, (iv) compensatory damages, (v)
                punitive damages, (vi) attorneys' fees, (vii) costs, including those costs incurred in
                the forensic imaging and investigation of computer systems, and (viii) such other
                and further relief as this Court may deem appropriate.


                                             COUNT TWO

   VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT - 18 U.S.C. 1030, et seq.

        68.      Plaintiffs re-allege and incorporate herein all of the allegations set forth in

paragraphs 1 through 62 above and the allegations of the other Count(s) herein.

        69.     Plaintiffs use their computers, including the desktops and laptops that it had

provided for use by the Defendant Jafri, in interstate and foreign commerce.

        70.     Defendant Jafri was at no time authorized to access those computers for the purpose

of transferring information, documents or files belonging to Plaintiffs that were and are stored on

Plaintiffs’ computers.

        71.     Plaintiffs’ computers are protected computers within the meaning of the CFAA. 18 U.S.C.

§ 1030(e)(2)(B).

        72.     Defendant Jafri knowingly and intentionally, without authorization and/or by exceeding

her authorized access, in violation of their fiduciary duties of good faith and loyalty and with the intent

to defraud, destroyed, deleted, transferred, copied, downloaded, uploaded, and/or deleted Plaintiffs’

confidential and proprietary information and other trade secrets in violation of 18 U.S.C. 1030(a)(2),

(a)(4), and (a)(5)(A)-(C).

        73.     As a direct and proximate result of Defendant Jafri’s unlawful taking of Plaintiffs’

confidential and/or proprietary information and other wrongful conduct, Plaintiffs each has suffered


                                                     17
     Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 18 of 23 PageID #:18




damages in an amount yet to be determined, but in excess of $5,000, and Defendants Jafri, and Looking

Glass have been unjustly enriched by her theft of these files and information by the possession and misuse

of these files and information in presentations to unknown persons by Defendant Jafri or others unknown

at this time to Plaintiffs.

         74.      Furthermore, the Defendants will continue to use such unlawfully gained information

to benefit themselves unless the Court prevents them from using and disseminating such information

in the future.

         75.      Plaintiffs have been forced to retain an external computer forensic consultant to conduct

a damage assessment, including but not limited to the assessment and attempted retrieval of permanently

deleted, erased, impaired or altered files, programs, usage history and other data. The costs of such

forensic work also will likely exceed $5,000.

         76.      Defendant Jafri transferred such information outside of Plaintiffs’ control for her

own possession and the possession and use of Looking Glass, an entity she surreptitiously

established during and as part of her course of conduct of misappropriating and obtaining valuable

confidential and proprietary information belonging to Plaintiffs.

         77.      Thereafter, Looking Glass, acting through Jafri, or others unknown to Plaintiffs utilized

that information for promotional or solicitation purposes, or other purposes unknown to Plaintiffs.

         78.      Defendants’ conduct constitutes a violation of the CFAA.

         79.      Defendants conduct has caused and continues to cause Plaintiffs substantial and immediate

irreparable harm, including the actual and potential loss of client relationships and goodwill and

confidential and proprietary information. Unless enjoined, Defendants will continue to cause further

such irreparable harm.

         WHEREFORE, Plaintiffs respectfully request the Court to enter the following relief in its




                                                     18
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 19 of 23 PageID #:19




favor and against Defendants:


       A.     That a temporary restraining order, and thereafter, a preliminary and permanent
              injunction be entered restraining and enjoining Defendants from using or
              disclosing any information that they improperly obtained;
       B.     That a temporary restraining order, and thereafter, a preliminary and permanent
              injunction be entered restraining and enjoining Defendants or any other person
              acting with or for them from contacting any clients or other persons and
              transmitting any of the information Jafri accessed, transferred or downloaded
              in violation of the CFAA;
       C.     That a temporary restraining order, and thereafter, a preliminary and permanent
              injunction be entered enjoining and restraining Defendants from misappropriating
              and using the confidential and/or proprietary information alleged herein;
       D.     That a mandatory injunction order be issued requiring the Defendants to return to
              Plaintiffs any and all written materials, including copies thereof, and/or
              computer disks, diskettes, databases and/or other retrievable data (whether
              encoded, taped, code electronically, electromagnetically, or otherwise) which
              reflect, refer or relate to the confidential and/or proprietary information, and any
              copies thereof that may be in his possession, or to which they may have access;
       E.     That a mandatory injunction order be issued requiring the Defendants to permit
              Plaintiffs to collect a forensic image of the Defendants computers, emails accounts,
              social media accounts, laptop computers, cloud-based storage areas, portable or
              handheld devices including portable phones and iPhones, and any other electronic
              storage media they use that contains or may contain electronic information
              relating to the confidential and/or proprietary information of Plaintiffs;
       F.     That following the imaging described above, that the Defendants be ordered to
              permanently delete all Plaintiffs’ confidential and/or proprietary information from
              computers, computer hard drives, USB drives, CDs/DVDs, or any other type of
              digital storage device described herein; and
       G.     That the Court grant additional relief to Plaintiffs, including (i) an accounting
              of monies obtained through the Defendants wrongful acts, (ii) disgorgement of the
              monies obtained through their wrongful acts, (iii) lost profits incurred by
              Plaintiffs as a result of Defendants wrongful acts, (iv) compensatory damages, (v)
              punitive damages, (vi) attorneys' fees, (vii) costs, including those costs incurred in
              the forensic imaging and investigation of computer systems, and (viii) such other
              and further relief as this Court may deem appropriate.




                                                   19
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 20 of 23 PageID #:20




                                         COUNT THREE

   VIOLATION OF THE ILLINOIS TRADE SECRETS ACT - 765 ILCS 1065/1, et seq.

       80.     Plaintiffs re-allege and incorporate herein all of the allegations set forth in

paragraphs 1 through 62 above and the allegations of the other Count(s) herein.

       81.     At all relevant times herein, there existed as part of the laws of the State of Illinois

the Illinois Trade Secrets Act, 765 ILCS 1065/1, et seq. ("ITSA"). Among other things, section 3

of the ITSA provides for the enjoinder of either actual or threatened misappropriation of trade

secrets. See 765 ILCS 1065/3.

       82.     Section 2(d) of the ITSA defines a "trade secret" as:

       [I]nformation, including but not limited to, technical or non-technical data, a
       formula, pattern compilation, program, method, technique, drawing, process,
       financial data, or list of actual or potential customers or suppliers, that:

       (1)    is sufficiently secret to derive economic value, actual or potential, from not
       being generally known to other persons who can obtain economic value from its
       disclosure and use, and

       (2)    is the subject of efforts that are reasonable under the circumstances to
       maintain its secrecy or confidentiality. 765 ILCS 1065/2(d).

       83.     The data that Plaintiffs maintained and that was stolen, copied and misappropriated

by Defendant Jafri included sensitive and confidential investment and financial data about the

business operations of Plaintiff, including proprietary financial and operations information,

competitive market analysis compiled using the expertise of Plaintiffs’ officers and employees,

target client profiles, investor profiles and investment return potentials, among other things.

       84.     That data and those files and information constitute trade secrets under the ITSA,

whose actual and threatened misappropriation may be enjoined.

       85.     Plaintiffs took affirmative steps to keep its confidential and proprietary information

secret, including internal and external security measures. Plaintiffs’ employees, including



                                                 20
     Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 21 of 23 PageID #:21




especially Jafri, Olsen, Walker and Kalfen were and are aware of the highly confidential and secret

nature of the confidential and proprietary information.

           86.    Despite the statutory obligations to maintain the confidentiality of such trade

secrets, the Defendants maliciously misappropriated such trade secrets in violation of the ITSA.

           87.    Sections 2 and 3 of the ITSA allow for an injunction to be issued enjoining the

actual or threatened misappropriation of trade secrets.

           88.    Plaintiffs have no adequate remedy at law to protect against the illegal

misappropriation and use of its trade secrets by Defendants. Injunctive relief is therefore necessary

and appropriate to restrain the illegal misappropriation and use of such information.

           89.    Unless Defendants are restrained and enjoined from using the subject confidential,

proprietary and trade secret information, Plaintiffs will suffer immediate and irreparable injury in

that the Defendants will continue to have access and the ability to make use of Plaintiffs’ trade

secrets.

           90.    As a direct and proximate result of Defendants’ misappropriation of Plaintiffs’ trade

secrets, Plaintiffs have suffered damages in an amount yet to be determined, and the Defendants

have been unjustly enriched through their use of such information. Therefore, pursuant to section

4 of the ITSA, Plaintiffs are entitled to recover damages.

           WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor

and against Defendants as follows:

           A.     Granting a temporary restraining order, and thereafter a preliminary and
                  permanent injunction barring the Defendants from utilizing any of
                  Plaintiffs’ trade secrets;

           B.     That a mandatory injunction order be issued requiring the Defendants to
                  return to Plaintiffs any and all written materials, including copies thereof,
                  and/or computer disks, diskettes, databases, portable or handheld devices
                  including portable phones and their iPhones, and/or other retrievable data
                  (whether encoded, taped, code electronically, electromagnetically, or


                                                   21
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 22 of 23 PageID #:22




             otherwise) which reflect, refer or relate to the confidential and/or
             proprietary information, and any copies thereof that may be in his
             possession, or to which they may have access;

      C.     Awarding compensatory damages for Plaintiffs’ actual losses and damages
             and Defendants’ unjust enrichment, as provided for under 765 ILCS 1065/4;

      D.     Awarding exemplary damages, costs and reasonable attorneys' fees; and

      E.     Awarding such other and further relief this Court deems to be just and
             appropriate.



                                       JURY DEMAND

      Plaintiffs demand a jury on all issues so triable.

                                            * * * *

Date: December 7, 2017                               Respectfully submitted,

                                                      /s/ Constantine John Gekas
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                                                     Attorney for Plaintiffs




                                                22
    Case: 1:17-cv-08816 Document #: 1 Filed: 12/07/17 Page 23 of 23 PageID #:23




                                        CERTIFICATION

       Under penalties as provided by law pursuant to 28 U.S.C. §1746, the undersigned certifies

under penalty of perjury that the foregoing is true and correct, except as to matter therein stated to

be on information and belief and as to such matters the undersigned certifies as aforesaid that

he/she verily believes the same to be true.
          December 7, 2016
Dated: ______________________________


                                                      ___________________________________



                                                                Chief Executive Officer
                                                      Title: ________________________




                                                 23
